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13                               UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                            Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of            DECLARATION OF S
   themselves and all others similarly situated,             Y            IN SUPPORT OF
17               Plaintiffs,
                                                             PLAINTIFFS’ MOTIONS FOR
                                                             PRELIMINARY INJUNCTION
18        v.                                                 AND PROVISIONAL CLASS
                                                             CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4334044.1]
               DECLARATION OF S       Y            IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                     PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, S       Y             declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I was incarcerated at FCI Dublin from September 13, 2018, to October 12,
 6 2022. I was then transferred to Northwest ICE Processing Center in Tacoma, Washington.
 7 I am now living in Los Angeles, California.
 8                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 9 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
10 and put myself and other incarcerated persons at substantial risk of serious harm from
11 sexual assault, harassment, and retaliation from staff.
12                 4.     I witnessed abuse by Officer John Russell Bellhouse starting in 2019 and
13 was sexually harassed by him and by Warden Ray Garcia.
14                 5.     I also witnessed Officer Ross Klinger abuse another woman. After I shared
15 information about the abuse I witnessed to the Special Investigative Services (SIS), I was
16 subjected to retaliatory abuse and harassment by Officers Phillips, Carson, Salcedo.
17                 6.     I believe the officers often targeted noncitizens for abuse. Because the
18 officers believed the women were going to be deported, the officers felt they could act with
19 impunity.
20                 7.     I worked in the Safety Office from June 2019 until I quit in late 2020.
21 Officer Bellhouse was the administrator of the Safety Office, so he supervised me in my
22 job.
23                 8.     Officer Bellhouse sexually harassed me while I worked for him. He
24 commented on my “pretty lips,” said I looked “sexy,” and made suggestive comments such
25 as “I wish I could,” indicating that he wanted to have sex with me but was prevented from
26 doing so.
27                 9.     He constantly complimented me and touched me unnecessarily. For
28 example, he touched my hand whenever we handed things to one another.
     [4334044.1]                                          1
               DECLARATION OF S       Y            IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1                 10.   Once when I spilled chemicals on my clothes while on the job, Officer
 2 Bellhouse followed me to my unit and waited outside of my cell for me to shower and
 3 change my clothes.
 4                 11.   Officer Bellhouse brought me gifts from outside of the facility. He asked me
 5 what kind of gifts I wanted, bringing me things that I couldn’t access inside the facility
 6 through the commissary, such as movies from Redbox to watch at work, clothing, bagels
 7 and cream cheese, and art supplies such as paints and brushes.
 8                 12.   I also knew he bought some other women gifts, including gold jewelry, to
 9 win their attention.
10                 13.   Receiving the gifts made me feel uncomfortable.
11                 14.   From late 2019 through early 2020, before the COVID-19 pandemic, I also
12 observed Officer Bellhouse have sexual relationships with other women. He would hang
13 out with women who were eventually hired to the Safety Office even though the office did
14 not need additional staff. He spent hours with the women after work. They would go into
15 his office alone for long periods of time. I observed them sitting on Officer Bellhouse’s
16 lap.
17                 15.   When I quit the Safety Office, Officer Bellhouse came to my unit to ask me
18 to come back. I left because I couldn’t handle the harassment anymore.
19                 16.   The next day, I was sent to a new housing unit. Officer Bellhouse
20 immediately moved me there to show me that he had control over me.
21                 17.   After moving me, he would escort his Safety Office employees back to the
22 dorm and seek me out at the laundry room—my new job—to talk to me, almost daily.
23                 18.   He pleaded with me to come back to the Safety Office, saying he was so sad
24 that I left, and saying “I like your lips.”
25                 19.   One day in late 2021, he came into the laundry room while I was working
26 and blocked the doorway with his body. He continued to try to talk to me while blocking
27 the exit. I felt helpless and trapped, and eventually had to make contact with his hand in
28 order to leave the room, which made me uncomfortable.
     [4334044.1]                                       2
               DECLARATION OF S       Y            IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1                 20.   While I worked in the Safety Office, I was also supervised by Officer
 2 Klinger.
 3                 21.   I became aware that Officer Klinger was in a long-term relationship with an
 4 incarcerated woman. I observed them together all the time, hugging and touching hands.
 5                 22.   I also saw them go to the warehouse together frequently. Officer Klinger
 6 brought her breakfast every morning and other forms of gifts.
 7                 23.   Right before I quit my job in the Safety Office in late 2020, I heard Officer
 8 Klinger having sex with this woman in the Safety Office.
 9                 24.   I also received unwanted attention from Warden Garcia.
10                 25.   Warden Garcia first interacted with me when I took a baking class in the
11 kitchen, sometime before I began working in the Safety Office in June 2019.
12                 26.   When Warden Garcia made rounds and visited the kitchen, he would stop by
13 the class and seek me out for a conversation. He gave me inappropriate compliments,
14 commenting that the liked my hair and that I “looked good today.” He told me that he
15 could tell I was a hard worker and that he was going to find me a better job.
16                 27.   These comments made me feel uncomfortable.
17                 28.   I know of at least four of my former cellmates had sex with male officers in
18 the kitchen.
19                 29.   These comments from Warden Garcia escalated when I began working in the
20 Safety Office in June 2019.
21                 30.   I had my own desk in the office, where I left a picture album. One day, I
22 came to my office and saw Warden Garcia sitting at my desk, looking at pictures of me.
23 He saw a picture of her with blonde hair and said, “blonde looks good on you.”
24                 31.   Warden Garcia visited me in the Safety Office often and would make
25 excuses to take me out of the office to talk to me. He asked me questions about my case
26 and asked if I ever applied for compassionate release.
27                 32.   Warden Garcia also visited my cell when he made rounds. When he visited,
28 he stared at me. I wore short shorts in my cell, and Warden Garcia would stare at my legs.
     [4334044.1]                                         3
               DECLARATION OF S       Y            IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1 He told me all the time that I had a nice body and a nice butt.
 2                 33.   When I arrived at FCI Dublin in September 2018 I was not provided
 3 adequate training and information about how to respond to sexual abuse.
 4                 34.   There is no effective way to confidentially report sexual assault and abuse by
 5 staff at FCI Dublin.
 6                 35.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
 7 by staff and retaliate against people who do report.
 8                 36.   Officers Bellhouse and Klinger were taken off the job around June 2021.
 9                 37.   When the investigation into the Safety Office began at the end of 2021, I
10 spoke with Special Investigative Services (SIS) Lieutenant Putnam and two members of
11 the FBI. They asked me about Officers Bellhouse and Klinger.
12                 38.   I was nervous because I didn’t think the conversation was confidential, and I
13 didn’t want to be targeted as a snitch.
14                 39.   Ultimately, I decided to provide Putnam and the FBI officers with
15 information about the sexual abuse I experienced and witnessed by Officers Bellhouse and
16 Klinger.
17                 40.   After I provided testimony and support to the investigation, other corrections
18 officers began to harass me. The retaliation began about a month after I provided
19 testimony and lasted for the rest of my time at Dublin.
20                 41.   The officers removed some of my privileges. For example, I no longer could
21 alter my clothing to fit my build—an accommodation that was previously approved.
22                 42.   The officers also prevented me from going to my job at yoga.
23                 43.   Officers Phillips, Carson, Salcedo all made retaliatory remarks, but Officer
24 Phillips was the worst.
25                 44.   Officer Phillips would talk to me about my clothes all the time. She once
26 came to my room, threatened to take my things, and gave me a warning. She also took me
27 out of my cell and yelled at me in front of the entire unit.
28                 45.   As a result of the lack of privacy and confidentiality, I also experienced some
     [4334044.1]                                        4
               DECLARATION OF SI      Y            IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1 teasing from other incarcerated women, who would say things like, “Watch out, Safety is
 2 coming.”
 3                 46.   When incarcerated persons report sexual abuse by staff, FCI Dublin and
 4 BOP do not seriously investigate the reports. Investigations are frequently delayed and
 5 overseen by staff who know and work with the offending staff member. Generally nothing
 6 happens as a result.
 7                 47.   There is little to no confidential mental health care available to survivors of
 8 sexual abuse and assault at FCI Dublin.
 9                 48.   I have severe anxiety because of my experiences at Dublin. I began to suffer
10 from insomnia and migraines in early 2022. The abuse I experienced traumatized me
11 severely because of my fear of further harassment.
12                 49.   I began to see psychiatrists and psychologists to treat my depression and
13 anxiety, but those treatments were not entirely helpful.
14                 50.   I take painkillers and anxiety medication to curb the nightmares and my
15 feeling of panic; I had never taken psychotropic medication before arriving at Dublin.
16                 51.   There is little to no medical care available to survivors of sexual abuse and
17 assault at FCI Dublin.
18                 52.   The camera system at FCI Dublin is inadequate. There are some cameras
19 installed in fixed locations in the facility, but it is well known that there are no cameras in
20 certain areas of the facility. Many of the cameras in the prison are broken and do not
21 work. Staff at FCI Dublin have never worn body-worn cameras in the facility.
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26 / / /
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28 / / /
     [4334044.1]                                         5
               DECLARATION OF S       Y            IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                     PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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